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    EXHIBIT 10
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  Case category no376/560/23: Civil cases (from 01.01.2019); Cases of legal proceedings; Cases in disputes
  arising from transactions, in particular contracts (except categories 301000000-303000000), from them.
  Sent for publication: 03/09/2023. Registered: 03/09/2023. Providing general access: 03/10/2023.
  Effective date: 03/02/2023
  Number of court proceedings: 2/376/477/2023




                                                Skvirsky district court of Kyiv region

                                                                                                    Case No. 376/560/23

                                                                                         Proceedings No. 2/376/477/2023

                                                            RESOLVED

                                                 on opening proceedings in the case

  On March 2, 2023, the judge of the Skvyrsky district court of the Kyiv region, O. M. Kovalenko, having
  considered the claim of PERSON_1 against PERSON_2, PERSON_3, Open joint-stock company "Sberbank of
  Russia", a third party: PERSON_4 regarding the recovery of the missed agreement,

                                                              Installed:

  The statement of claim was submitted in compliance with the requirements of Articles 175-177 of the Civil
  Code of Ukraine , referred to the preliminary, subjective, instance and territorial jurisdiction of the court.

  There are no grounds for leaving a statement of claim without moving, returning or refusing to open
  proceedings.

  The specified case cannot be considered in the order of simplified legal proceedings in accordance with Part 4
  of Article 274 of the Civil Procedure Code of Ukraine .

  On the basis of the above, guided by Art. 187-192 , 260 , 353 of the Civil Code of Ukraine ,

                                                              decreed:

  Open proceedings in a civil case against PERSON_1 against PERSON_2, PERSON_3, Open Joint Stock
  Company "Sberbank of Russia", third party: PERSON_4 for the recovery of the missed transaction.

  Consideration of the case will be conducted in the order of general legal proceedings.

  Guided by the principle of the order of consideration of cases and the heavy workload of the judge in the
  consideration of other cases, appoint a preliminary meeting in the premises of the Skvyr District Court of the
  Kyiv Region on 03/23/2023 at 10:20 a.m.

  Send a copy of the statement of claim and the materials attached to it to the participants of the case together
  with the decision to open a general claim proceeding, explaining to the defendant the right to file a response to
  the claim statement, which in terms of form and content must meet the requirements of Article 178 of the Civil
  Code of Ukraine , by March 23, 2023 .

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  Evidence of sending (providing) copies of the response and the documents attached to it to other participants in
  the case is attached to the response.

  If the defendant fails to respond within the time limit set by the court without valid reasons, the court has the
  right to resolve the dispute based on the available case materials.

  Participants in the case can get information about the case at the web address: https://court.gov.ua.

  The decision becomes legally binding from the moment it is signed by the judge and cannot be appealed
  separately from the court decision.

  Judge O. M. Kovalenko




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